Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 1 of 30

GIEGER, LABORDE & LAPEROUSE, Lic.

FORTY-EIGHTH FLOOR
ERNEST P, GIEGER, JR. ONE SHELL SQUARE MICHAEL &, HILL

KENNETH H. LABORDE'? A. SIMONE MANUEL
LAMBERT M. LAPEROUSE! 7O1 POYDRAS STREET JAMESON M. TAYLOR
ROBERT |. SIEGELM NEW ORLEANS, LOUISIANA 70199-4800 SARAH MILLER JOHNSON?
ANDREW A. BRAUN CHRISTOPHER A, TESKE
LEC R. MGaLOON [ttt TELEPHONE (504) S61-0400 EMILY BE. Eagan

JOHN FE. W. BAAY [ft2® MATTH FF. MORGAN
DREW M. ADAMS**® FACSIMILE (504) 5E)-101| PATRICK sean
MARGARET L. SUNKEL' WWW.GLLLAaW.GOM VICTORIA E, EMMERLING
CANIEL G. RaUH! GINA 5. MONTGOMERY

RACHEL G. wEeORE!
@RENDAN PF, ROHERTYS2

JANET MH. ASCHAFFENBURG

HOUSTON OFFICE:

OF COUNSEL

WILLLAM A, BAROUSBE SUITE 750 4LISTAIR M, Warp
KRYSTENA L. HARPER? 117? WEST LOOP SOUTH CONAIE L. Hawruns4
MICHAEL D. CANGELOSI HOUSTON, TEXAS 77OZ7 CHARLOTTE A, FIELDS*
TARA £. CLEMENT®
CARSON W, STRICKLAND TELEPHONE (932) 255-6000 * Law CORPORATION
ELIZABETH A. CHICKERING FACSIMILE (832) 265-6001 © alec ADMITTED IM TEXAS
LAUREN C. CaNClENNE? 9 ALO® ADEITTED IN MUSSEERIPP)
ERIC ¢. WALTON . S ONLY ADMITTED IN TEXAS
MARK 7. MAHFOUZ Sale ADMITTED jm WASHINGTON
April 6, 2011

Mr. Anthony Buzbee

The Buzbee Law Firm

JP Morgan Chase Tower

600 Travis, Ste. 7300
Houston, Texas 77002

RE: FEMA Trailer Formaldehyde Product Liability Litigation
MDL No.: 1873, Sec. N(4)}
Our File No.: o200-24-7

Dear Counsel:

Below please find a list of deficiencies associated with the Plaintiff Fact Sheets submitted
by your firm for Forest River, Inc. and/or Vanguard, LLC Plaintiffs, We ask that you provide the
requested information within the 30 day time frame set forth in Pre-Trial Orders #2 and #92,
Accordingly, all deficiencies must be provided by May 6, 2011. Please contact us if you have any
questions or concerns.

Agnew, Chelsea L.:
* VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use

Agnew, Cynthia J.:
* VI Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use

Alexander, Errol:
* V. FEMA Trailer or Mobile Home Uni
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Alexander, Horace:
e V. FEMA Trailer or Mobile Home Unit
o VIN
Alexcee, Christopher:
»  V. FEMA Trailer or Mobile Home Unit EXHIBIT

o VIN i zB

Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 2 of 30
GIEGER, LABORDE & LAPEROUSS, L.L.G.

The Buzbee Law Firm
April 6, 2011
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Test Results
Medical Bills
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Death Certificate
o Autopsy Report
IX. List of Medical Providers and Other Sources of Information (Section A-F)
o Identify current family and/or primary care physician
o Identify each hospital, clinic or health care facility where you have received
outpatient, inpatient or emergency care during the last 7 years
o Identify each pharmacy that has dispensed medication during the last 7 years
Signed Certification
Signed medical, psychological, and employment authorizations
Signed Privacy Act Release Language

Ballard, Sr., Eric:
© Y. FEMA Trailer or Mobile Home Unit
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« Signed Privacy Act Release Language

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Barnes, Valerie C.:
* Y, FEMA Trailer or Mobile Home Unit
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* Signed medical, psychological, and employment authorizations
¢ Signed Privacy Act Release Language

Bartie, Ruth Marie:
« \V. FEMA Trailer or Mobile Home Unit
o VIN

Battie, Helen Hutchinson:
¢ VI. Medical Background (Section C-D)
o Past/Current Smoking/Tebacco use

Bell, Sr., Shannon D.:
e YV. FEMA Trailer or Mobile Home Unit
o VIN
© VE Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use

Bentel, IV, Henry:
*s V. FEMA Trailer or Mobile Home Unit
o VIN
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 3 of 30
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April 6, 2011

Page 4 of 54

¢ Signed Certification
* Signed medical, psychological, and employment authorizations
¢ Signed Privacy Act Release Language

Blanchard, Selena M.:
* Signed Certification
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* Signed Privacy Act Release Language

Brooks, Bradford C.:
» \. FEMA Trailer or Mobile Home Unit
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« Signed medical, psychological, and employment authorizations
* Signed Privacy Act Release Language

Brooks, Georgia S,:
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Broussard, Sheila F.;
e V. FEMA Trailer or Mobile Home Unit
o VIN
© Signed Certification
¢ Signed medical, psychological, and employment authorizations
e Signed Privacy Act Release Language

Brown, Christopher:
« VV, FEMA Trailer or Mobile Home Unit

o VIN

Brown, Donna L.:
e . FEMA Trailer or Mobile Home Unit
o VIN

Burch, Bobby: (Blank in its entirety)
» II. Case Information (Section C-3)
o Symptoms
e IIT. Case Information (Section C-4}
© Since you moved in the FEMA housing unit and up to the present date, have you
been diagnosed with cancer?
= Ifyes, which kind of cancer?
« Y. FEMA Trailer or Mobile Home Unit
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11
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The Buzbee Law Firm
April 6, 2031

Page 6 of 54

© Past/Current Smoking/Tobacco use —
Signed Certification
Signed medical, psychological, and employment authorizations
* Signed Privacy Act Release Language

Captain, Shalonda N.;:
= Y, FEMA Trailer or Mobile Home Unit
o VIN
* VI. Medical Background (Section C-D)
eo Past/Current Smoking/Tobacco use

Captain, Shaundrica:
e . FEMA Trailer or Mobile Home Unit
o VIN
e VI. Medical Background (Section C-D}
co Past/Current Smoking/Tobacco use
Signed Certification
Signed medical, psychological, and employment authorizations
* Signed Privacy Act Release Language

Captain, Shelia F.:
e . FEMA Trailer or Mobile Home Unit
o VIN

Carter, Barry Lett:
es Y, FEMA Trailer or Mobile Home Unit
o Move In/Move Out date
© VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use

Casnave, firma L.:
e Y. FEMA Trailer or Mobile Home Unit
o VIN

Chattman, Geraldine M.:
« VI. Medical Background (Section C-D)
eo Past/Current Smoking/Tobacco use

Chretien, Nichelle:
« VL Medical Background (Section C-D)
eo Past/Current Smoking/Tobaceo use

Page 4 of 30
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 5 of 30
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April 6, 2011

Page 7 of 54

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« Signed Privacy Act Release Language

Clark, Pierre:

* V. FEMA Trailer or Mobile Home Unit
o VIN

¢ IX. List of Medical Providers and Other Sources of Information (Section A-F)
© Identify current family and/or primary care physician
o Identify each hospital, clinic or health care facility where you have received

outpatient, inpatient or emergency care during the last 7 years

© Identify each pharmacy that has dispensed medication during the last 7 years

Clark, Shonda C.:

e V. FEMA Trailer or Mobile Home Unit
o VIN

e IX. List of Medical Providers and Other Sources of Information (Section A-F)
o Identify current family and/or primary care physician
o Identify each hospital, clinic or health care facility where you have received

outpatient, inpatient or emergency care during the last 7 years

o Identify each pharmacy that has dispensed medication during the last 7 years

Clayton, Dante:
e V. FEMA Trailer or Mobile Home Unit
o VIN

Clayton, Melwyn E.:
« V. FEMA Trailer or Mobile Home Unit
o VIN

Clofer, Leroy J.:
* V. FEMA Trailer or Mobile Home Unit

o VIN
e Signed Certification
« Signed medical, psychological, and employment authorizations
« Signed Privacy Act Release Language

Coleman, Daniel G.;
¢ Signed Certification
¢ Signed medical, psychological, and employment authorizations
e Signed Privacy Act Release Language
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The Buzbee Law Firm
April 6, 2011
Page 9 of 54

Dennis, LaToya K.:
* VY, FEMA Trailer or Mobile Home Unit
o VIN
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Signed medical, psychological, and employment authorizations
* Signed Privacy Act Release Language

Dennis, Sanai:
« , FEMA Trailer or Mobile Home Unit
o VIN
¢ VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use
Signed Certification
Signed medical, psychological, and employment authorizations
e Signed Privacy Act Release Language

Dimery, Kenneth J.:
« . FEMA Trailer or Mobile Home Unit
o VIN
¢ Signed Certification
* Signed medical, psychological, and employment authorizations
e Signed Privacy Act Release Langnage

Driebe, Paul R.:
* Signed Certification
* Signed medical, psychological, and employment authorizations
« Signed Privacy Act Release Language

Dyer, Trinice:
« V. FEMA Trailer or Mobile Home Unit
o VIN
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* Signed medical, psychological, and employment authorizations
* Signed Privacy Act Release Language

Elliott, Kyren:
eV. FEMA Trailer or Mobile Home Unit
o VIN
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e Signed medical, psychological, and employment authorizations
e Signed Privacy Act Release Language

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Page 6 of 30
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 7 of 30
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April 6, 2011
Page 13 of 54

Godwin, Moriah J.:

V. FEMA Trailer or Mobile Home Unit
o VIN

Gomez, Neff:

VIIL Documents (Section B)}
eo Standard Form 95
Signed Certification .
Signed medical, psychological, and employment authorizations
Signed Privacy Act Release Language

Gomez, Sierra A:

V. FEMA Trailer or Mobile Home Unit
o VIN

Green, Angiela: (Blank in its entirety)

ITIL. Case Information (Section C-3)
o Symptoms
Til. Case Information (Section C-4}
o Since you moved in the FEMA housing unit and up to the present date, have you
been diagnosed with cancer?
« Jf yes, which kind of cancer?
V. FEMA Trailer or Mobile Home Unit
o VIN
o Move In/Move Out
VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use
VOI, Documents (Section A-G)
Medical Records
Standard Form 95
Test Results
Medical Bills
Questionnaires
Death Certificate
Autopsy Report
EX, List of Medical Providers and Other Sources of Information (Section A-F)}
o Identify current family and/or primary care physician
o Identify each hospital, clinie or health care facility where you have received
outpatient, inpatient or emergency care during the last 7 years
o Identify each pharmacy that has dispensed medication during the last 7 years
Signed Certification
Signed medical, psychological, and employment authorizations
Signed Privacy Act Release Language

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Case 2:07-md-01873-KDE-MBN Document 23894-3
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April 6, 2011
Page 26 of 54

Green, Perry: (Blank in its entirety)

Filed 12/14/11 Page 8 of 30

LT. Case Information (Section C-3)
o Symptoms
TIL. Case Information (Section C-4)
© Since you moved in the FEMA housing unit and up to the present date, have you
been diagnosed with cancer?
© If-yes, which kind of cancer?
Y. FEMA Trailer or Mobile Home Unit
o VIN
o Move In/Move Out
VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use
VII. Documents (Section A-G)
Medical Records
Standard Form 95
Test Results
Medical Bills
Questionnaires
Death Certificate
Autopsy Report
IX. List of Medical Providers and Other Sources of Information (Section A-F)
o Identify current family and/or primary care physician
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o Identify each pharmacy that has dispensed medication during the last 7 years
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Signed medical, psychological, and employment authorizations
Signed Privacy Act Release Language

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Gums, Eloise E,:

V. FEMA Trailer or Mobile Home Unit
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VIIL Documents (Section 4-G)

Medical Records

Standard Form 95

Test Results

Medical Bills

Questionnaires

Death Certificate

Autopsy Report

Signed Certification

Signed medical, psychological, and employment authorizations

Signed Privacy Act Release Language

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Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 9 of 30
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April 6, 2011
Page 17 of §4

Harris, Eartha J.:
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Harris, Fred:
e V. FEMA Trailer or Mobile Home Unit
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e Signed medical, psychological, and employment authorizations
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Harris, LeRoy J.:
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Harris, Mariah:
e V. FEMA Trailer or Mobile Home Unit
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Heechung, Eisabella:
» Y. FEMA Trailer or Mobile Home Unit
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» I. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use
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e Signed Privacy Act Release Language

Heechung, Hazel:
e VOI. Documents (Section C)
o Test Results

Heechung, Jr., Keith A,:
e V. FEMA Trailer or Mobile Home Unit
o VIN
« VI. Medical Background (Section C-D)
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 10 of 30
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Jacob, Calvin:
e Y. FEMA Trailer or Mobile Home Unit
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VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use
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Signed Privacy Act Release Language

Jacobs, Troy:
« V. FEMA Trailer or Mobile Home Unit
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« Signed Privacy Act Release Language

Johnson, Dorothy:

e VIII. Documents (Section A-G)
Medica] Records
Standard Form 95
Test Results
Medical Bills
Questionnaires
Death Certificate
Autopsy Report

Johnson, Joseph;
* ‘. FEMA Trailer or Mobile Home Unit
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Johnson, Michael:
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Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 11 of 30
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April 6, 2011
Page 23 of 54.

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Johnson, Michelle: (Blank in its entirety)

Oi. Case Information (Section C-3)

o Symptoms
III. Case Information (Section C-4)
o Since you moved in the FEMA housing unit and up to the present date, have you
been diagnosed with cancer?
*  Ifyes, which kind of cancer?
V. FEMA Trailer or Mobile Home Unit
o VIN
o Move In/Move Out
VI. Medica] Background (Section C-D)
o Past/Current Smoking/Tobacco use
VIII, Documents (Section A-G)
Medical Records
Standard Form 95
Test Results
Medical Bills
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Death Certificate
Autopsy Report
IX. List of Medical Providers and Other Sources of Information (Section A-F)
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o Identify each pharmacy that has dispensed medication during the last 7 years
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Signed Privacy Act Release Language

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Johnson, O’Neisha D,:

V. FEMA Trailer or Mobile Home Unit
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Signed Privacy Act Release Language

Johnson, Sean: (Blank in its entirety)

IIL. Case Information (Section C-3)
o Symptoms
II. Case Information (Section C-4)
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 12 of 30
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The Buzbee Law Firm
April 6, 2011
Page 24 of 54

© Since you moved in the FEMA housing unit and up to the present date, have you -
been diagnosed with cancer?
« Ifyes, which kind of cancer?

Y. FEMA Trailer or Mobile Home Unit

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o Move In/Move Out
VI. Medical Background (Section C-D)

o Past/Current Smoking/Tobacco use
® VII. Documents (Section A-G)

Medical Records.

Standard Form 95
Test Results
Medical Bills
Questionnaires
Death Certificate
Autopsy Report
IX. List of Medical Providers and Other Sources of Information (Section A-F)

© Identify current family and/or primary care physician

© Identify each hospital, clinic or health care facility where you have received

outpatient, inpatient or emergency care during the last 7 years

© Identify each pharmacy that has dispensed medication during the last 7 years
Signed Certification :
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* Signed Privacy Act Release Language

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Jones, Gilda: (Blank in its entirety)
e JIL Case Information (Section C-3)

o Symptoms
III. Case Information (Section C-4)

o Since you moved in the FEMA housing unit and up to the present date, have you

been diagnosed with cancer?
= Ifyes, which kind of cancer?

e \V. FEMA Trailer or Mobile Home Unit

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© Move In/Move Out
VI. Medical Background (Section C-D)

o Past/Current Smoking/Tobacco use
VIII. Documents (Section A-G)
Medical Records
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Medical Bills
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Death Certificate

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Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 13 of 30
GIEGER, LABORDE & LAPEROUSE, L.L.G,

The Buzbee Law Firm
April 6, 2011
Page 26 of 54

Kissanis, John:
* . FEMA Trailer or Mobile Home Unit
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* VI. Medical Background (Section C-D)
o Past/Current Smoking/Tobacco use
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* Signed Privacy Act Release Language

Lacey, Belinda:
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Lampkin, Denise:
e Y\. FEMA Trailer or Mobile Home Unit
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e Signed Privacy Act Release Language

Lampkin, Gerald;
® V. FEMA Trailer or Mobile Home Unit
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o Standard Form 95
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e Signed medical, psychological, and employment authorizations
« Signed Privacy Act Release Language

Lampkin, Glenda:
¢ V. FEMA Trailer or Mobile Home Unit
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e VIII. Documents (Section B)
o Standard Form 95
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The Buzbee Law Firm
April 6, 2012
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Standard Form 95
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Autopsy Report
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e Signed Privacy Act Release Language

Vaughn, Sr., William:
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Villa, Pamela:
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Vitto, Joshua J.:
¢ \. FEMA Trailer or Mobile Home Unit
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Vitto, Jr., Spencer:
« \V. FEMA Trailer or Mobile Home Unit

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Vitto, Sr., Spencer E.:
e Y. FEMA Trailer or Mobile Home Unit
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Walker, Larry J.:
* V. FEMA Trailer or Mobile Home Unit
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Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11 Page 15 of 30
GIEGER, LABORDE & LAPEROUSE, L.L.C.

The Buzbee Law Firm
April 6, 2011
Page 54 of 54
Sincerely,
Com VpidlX
Carson W. Sirickland
CWS/kbd
ce: Andrew Weinstock, Esq.
Justin Woods, Esq.

Dave Kurtz , Esq.
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11

GIEGER, LABORDE & LAPEROUSE, Lc.

ERNEST P. GIEGER, JR."
KENNETH H. LABORDE*?
LAMBERT M. LAPERGUSE‘
ROBERT |. SIEGEL"?
ANDREW A. BRAUN*?
LEO R. MCALOON IfI'""
JOHN E. W. BAAY IT?"
ANDREW M, ADAMS"?
MARGARET L. SUNKEL'
DANIEL G. RAUH'
RACHEL G. WEBRE’
BRENDAN P. DOHERTY?

WILLIAM A. BAROUSSE
KRYSTENA L. HARPER’
MICHAEL D. CANGELOSI
TARA E. CLEMENT’
ELIZABETH A. CHICKERING
LAUREN C. CANCIENNE?
ERIC C. WALTON

MARK T. MAHFOUZ

Mr. Anthony Buzbee
The Buzbee Law Firm
JP Morgan Chase Tower

600 Travis Street, Suite 7300

Houston, TX 77002

FORTY-EIGHTH FLOOR
ONE SHELL SQUARE
701 POYDRAS STREET
NEW ORLEANS, LOUISIANA 70139-4800
TELEPHONE (504) 561-0400
FACISIMILE (504) 564-1011
WWW.GLLLAW.COM

HOUSTON OFFICE:
SUITE 750
1177 WEST LOOP SOUTH
HOUSTON, TEXAS 77027

TELEPHONE (832) 255-6000
FACSIMILE (832) 255-6001

June 29, 2011

Re: FEMA Trailer Formaldehyde Product Liability Litigation
MDL No.: 1873, Sec. N(4)
Our File No.: 0200-24-7
Notice of Plaintiff Fact Sheet Deficiencies

Dear Counsel,

Page 16 of 30

MICHAEL E. HILL
A. SIMONE MANUEL
JAMESON M. TAYLOR
SARAH MILLER JOHNSON®
CHRISTGPHER R, TESKE
EMILY E. EAGAN

MATTHEW F. MORGAN
PATRIGK A. SEALE‘

GINA S, MONTGOMERY
JANET H. ASCHAFFENBURG

OF COUNSEL
ALISTAIR M. WARD
CONNIE L. HAWKINS“
GHARLOTTE A. FIELDS‘
J. MICHAEL BIGIGLIA®

'LAW CORPORATION

7ALSO ADMITTED IN TEXAS
ALSO ADMITTED IN MISSISSIPPI
“ALSO ADMITTED IN FLORIDA
"ONLY ADMITTED IN TEXAS
"ALSO ADMITTED IN
WASHINGTON

*ALSO ADMITTED IN COLGRAGO

Below is a list of your clients that have one or more Plaintiff Fact Sheet (“PFS”)
deficiencies pursuant to PTOs 2, 32 and 88. Each of the specific PTO deficiencies are specified

by client.

We understand that you may have received deficiency letters from our firm in the last

month or two regarding some of these same clients; however, the attached deficiencies are IN
ADDITION to the deficiencies that were noted in those previous deficiency letters. Any
deficiency response that you made to deficiency letters that you previously received from our
firm shall NOT serve as a response to this deficiency letter.

If you feel that you may have previously submitted a PFS for a specific client that
satisfies these required items, please communicate that belief to us as soon as possible so that we
can pull that plaintiff's PFS, and either confirm or defeat that belief. Please direct any questions
and your deficiency responses to the undersigned.
Case 2:07-md-01873-KDE-MBN Document 23894-3 Filed 12/14/11

Acevedo-Pena, Rafael
Agnew, Cynthia J.
Alexander, Horace
Alexcee, Lynette
Ally, Wanda
Autman, Lorraine M.
Ballard, Sr., Eric
Banks, Shamani
Bames, Valerie C.
Bolden, Osmond
Broussard, Shelia F.
Brown, Christopher
Burch, Bobby
Captain, Jaylin
Captain, Shalonda N.
Captain, Shelia F.
Casnave, Irma L.
Chretien, Michelle
Clark, Shonda C.
Clayton, Melwyn E.
Coleman, Andre D.
Coleman, Daniel G.
Coston, Ernest
Davenport, Louis
Davenport, Sandra
Davis, Anthony
Dennis, LaToya K.
Cou

Dimery, Kenneth J.
Driebe, Paul R.
Elliott, Kyren
Enines, Stephanie
Fontenot, Sr., Johnathan
Fulk, Sandra K.
Gaines, Arthurnisha
Gaines, Eroger
Garrett, Javion O.
Gerdes, Jr., Vernon
Gobert, Seleste A.
Godwin, III, James T.
Godwin, Meagan
Gomez, Neff

Green, Angiela L.
Green, Diane

Green, Perry
Hargrave, Britlyn P.
Harris, Fred

Harris, Mariah
Heechung, Hazel

Agnew, Chelsea L.
Alexander, Errol
Alexcee, Christopher
Alfred, Jr., Kirby
Anderson, Kainan
Autman, Sean
Banks, Kerriell
Banks, Tina

Bentel, Amber
Brooks, Georgia S.
Brown, Bruce Daniel
Brown, Donna L.
Captain, Brittany
Captain, Kithen
Captain, Shaundrica
Carter, Barry Lett
Chatiman, Geraldine M.
Chretien, Nichelle
Clayton, Donte
Clofer, Leroy J.
Coleman, Andre R.
Copeland, Shannon C.
Davenport, IV, Louis
Davenport, Mercedes
Davis, Angela

Davis, II, Clarence

Dennis, Sanai
Dimery, Sylvia
Dyer, Trinice
Enines, Jr., William
Finch, Charles
Foster, Napoleon
Fulton, Glenda
Gaines, Charmaine
Gaines, My'Cal
George, Johnny
Gill, Venita A,
Gobert, Stephanie
Godwin, Jr., James
Godwin, Moriah
Gomez, Sierra
Green, Ashia
Green, Latasha
Gums, Eloise E.
Harris, Eartha L.
Harris, LeRoy J.
Heechung, Eisabella
Heechung, Jr., Keith A.

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Gieger, Laborde & Laperouse, L.L.C.

Mr. Anthony Buzbee
June 29, 2011

Hill, Addie

Hill, Tameka S.
Holmes, Deborah
Hurst, Danielle N.
Irza, Thomas M.
Jackson, Laterrian
Jacob, Calvin
Johnson, Dorothy
Johnson, Michael F.
Johnson, O'Neisha D.
Jones, Gilda

Jones, Levon

Kelly, Louise
Kissanis, John
Lampkin, Denise
Lampkin, Glenda R.
Landry, D'Tizhana
LeBlanc, Dolores J.
Leday, Beverly J.
Leo-Carter, Dolly
Lewis, Jr., William M.
Lewis, Mary J.
Magee, Jalisha
Magee, Jaterion
McCrary, Gregory
Mckenzie, Eddie L.
Moore, Sr., Larry
Newman, Ranardia
Papalin, Bill

Peck, Ashley
Randazzo, Isabella A.
Reed, Chadneisha
Reed, Marguerite
Richardson, Cheryl A.
Richardson, Tessie M.
Richmond, Darlene W.
Richmond, Ja'Quise
Richmond, Ja'Zyreia
Robesten, Linda M. R.
Robinson, Jada A.
Robinson, O'Neisha
Robinson, Stephen J.
Rodney, Gary
Romich, Jennifer
Romich, Wyatt

Rust, Samien

Hill, Darius Q.
Hillard, Raymond
Hurst, Corey

Hurst, Terry R.

Issac, Kaswanna
Jackson, Victoria
Jacobs, Troy
Johnson, Joseph
Johnson, Michelle
Johnson, Sean

Jones, Jamie L.
Jordan, Brunica
Kinkella, Jan M.
Lacey, Belinda
Lampkin, Gerald
Landry, Courtney
Landry, Jr., Adam
LeBlanc, Edwin
Ledet, ITI, Leon A.
Lewis, Adrienne M.
Lewis, Malijah
Magee, Dedrick R.
Magee, Jaliyah
Magee, Shamika
McGee, Tiffany
Moore, Jr., Elton
Netto, Michael
Palmer, Donna
Parish, Helena
Randazzo, Angela Y.
Randazzo, Kody - DELETE DUP
Reed, Cherish
Richardson, A'Donna
Richardson, Jaleel M.
Richmond, Coquise W.
Richmond, Ja'Myreia
Richmond, Ja'Tavien
Rizzuto, Blake
Robinson, Gertrude B.
Robinson, Michelle
Robinson, Rodney
Robinson, Terry G.
Rodney, Jasmine
Romich, Monette
Rust, Logan C.

Ryan, Jamarus

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Gieger, Laborde & Laperouse, L.L.C.

Mr. Anthony Buzbee
June 29, 2011

Ryan, Patsy

Scott, Clarence

Sims, Ke'Monei
Slater, Harold

Slater, Willie

Smith, Kelsey

Smith, Milford

Smith, Rickell
Stampley, Cleveland
Stepter, Miracle
Thomas, Alberta
Thomas, Chelsea
Thomas, Jervis W.
Thomas, Stacy L.
Valentine, Jamarius
Vaughn, Sr., William C.
Vitto, Joshua J.

Vitto, Sr., Spencer E.
Washington, Jamar R.
Weber, Marion
White, Jennifer A.
White, Laura A.
Whitfield, Bettie
Whitfield, Emmett
Williams, Johnnie L.
Wilson, Kierra
Woodridge, Regina E.
Wright-Smith, Carolyn

Schexnayder, Lula Mae
Shabazz, Xavier
Slater, Angela

Slater, Lorenzo
Smith, Alvin

Smith, Lisa M.
Smith, Paula R.
Snow, Brittany
Stepter, Carey

Stuart, Travis
Thomas, Alvin
Thomas, Deborah
Thomas, Paul
Thornton, Delisa
Vaughn, Charlene A.
Villa, Pamela E.
Vitto, Jr., Spencer E.
Walker, Larry J.
Washington, Jamie L.
White, Diamond
White, John C.
White, Shawna M.
Whitfield, Brittany A.
Williams, Gloria S.
Wilson, Jaden
Womack, Patricia
Wright, Brionne

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The Buzbee Law Firm
Banks, Shamani

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Manufacturer (PFS Sec. V.A.1)

FEMA 1.D. # (PFS Sec. V. A3)

Bar Code (PFS Sec. V.A.4) _

‘Names of All Trailer Residents (PFS Sec. V.E)

‘Smoking History of Other Trailer Resident(s} (PFS Sec. VI.D)
Future Medical Claim (PFS Sec. IM. C. 2)
Psychological Treatment (PFS Sec. IHI.C.8)
Prior Medical History [PFS Sec. VI (F} (1 & 4}]

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. H.C. 9)
Only if You are Making a Wage Claim. {PFS Sec. IV.F. 3)
Number of Hours Spent in the Trailer Each Day (PFS Sec. V.13)

Certification Signed by Plaintiff

Banks, Tina

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Manufacturer (PFSSec.V.AJ)
FEMA I.D. # (PFS Sec. V.A.3)

Bar Code (PFS Sec. V.A. A) -

Names of All Trailer Residents (PES Sec. Vv. £)

Smoking History of Other Trailer Resident(s) (PFS Sec. Vi.D)

Future Medical Claim (PFS Sec. Ili, C. 2)

Psychological Treatment (PFS Sec. lI.C8)

Prior Medical History [PFS Sec. VI (F} (1 & 44]

Only if You are Requesting Reimbursement of Medical Expenses: (PFS Sec. Hli.€.9}
Only if You are Making a Wage Claim (PFS Sec. IV.F.3)

Number of Hours Spent i in the Trailer Each Day (PFS Sec. v.13)

Certification Signed by Plaintiff

Barnes, Valerie C.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

‘Smoking History of Other Trailer Resident(s) (PFS Sec. VI. D}

‘Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. H1.C.9}
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The Buzbee Law Firm
Captain, Kithen

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMAL.D. # (PFS Sec. V.A.3)

Bar Code {PFS Sec. V.A. 4) .

Smoking History of Other Trailer Resident(s) (PFS Sec. VID)

‘Prior Medicai History [PFS Sec, Vi {F} (1 & 4}]

Only ff You are Requesting Reimbursement of Medical Expenses {PFS Sec. lll.C.9)

Certification Signed by Plaintiff | oe

Captain, Shalonda N.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMAIL 1.0. # (PFS Sec, ¥. A. 3)

Bar Code (PFS Sec. V.A. 4) a
Smoking History of Other Trailer Resident(s) (PFSSec. VID)

Prior Medical History [PFS Sec, Vi (F} (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec, III.C.9)

‘Only if You are Making a Wage Claim (PFS Sec IVS) canna

Captain, Shaundrica

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s) (PFS Sec. Vi. D)
Prior Medical History [PFs Sec, Vit F) (1 & 4)] .
Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. HIL.C. 9)

Captain, Shelia F.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA LD. # (PFS Sec. V.A.3)

Smoking History of Other Trailer Resident(s) APES. Sec. VLD)

Prior Medical History [PFS Sec. Vi (F) (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses {PFS Sec. [II.C.9}

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The BuzbeeLawFirm ss ss sisi.
Clayton, Donte

The following items are missing fram the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s} (PFS Sec. Vi.D}
Prior Medica! History: {PES Sec. VI (F} (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses (PES Sec. Ml C 9)
‘Only if You are Making a Wage Claim {PFS Sec. |V.F.3)
Certification Signed by Plaintiff

Clayton, Melwyn E.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s) (PFS Sec. VI.D)

Prior Medical History [PFS Sec. Vi (F) (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses (PES Sec. Mt c 9)
Only if You are Making a Wage Claim (PFS Sec. IVF, 3)

Clofer, Leroy J.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

‘Smoking History of Other Trailer Resident(s) (PFS Sec. VI.D)

Only if You are Requesting Reimbursement of Medical Expenses {PFS Sec. It. C 9)
Coleman, Andre D.

The following items are missing from the above Plaintiff's PFS and canstitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s} (PFS Sec. VID}
Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. III.C.9)
Only if You are Making a Wage Claim (PFS Sec. 1V.F.3) _

Certification Signed by Plaintiff

Coleman, Andre R.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s) (PFS Sec. Vi. D)

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. AL Cc. 3)

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The Buzbee Law Firm
Dimery, Kenneth J.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA LD. # (PFSS€C.VAB) ne

Bar Code (PFS Sec. V.A.4)

Smoking History of Other Trailer Resident(s) (PFSSec. VLD)
Prior Medical History [PFS Sec. Vi (F} (1 & 4)]

Only if You are Requesting Reimbursement of Medicai Expenses (PFS Sec. lil.C.9)
Only if You are Making a Wage Claim (PFS Sec. IV.F.3)

Certification Signed by Plaintiff oe

Dimery, Sylvia

The following iterns are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Manufacturer {PFS Sec. V.A.1)

FEMAI.D. # (PFSSec.V.A.3)

Bar Code {PFS Sec. V.A.4}

Names of All Trailer Residents (PFS Sec. V.E}

Smoking History of Other Trailer Resident(s) (PFSSec. VD)
Future Medical Claim (PFSSec.LC.2)

Psychological Treatment (PFS Sec. III.C.8)

Prior Medical History [PFS Sec. VI {F) (1 & 4)}

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. Ill.C.9)

Only if You are Making a Wage Claim (PFS Sec. IV.F.3)

‘Number of Hours Spent in the Trailer Each Day (PFS Sec. V.13)

‘Certification Signed by Plaintiff
Driebe, Paul R.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

‘Smoking History of Other Trailer Resident(s) (PFS Sec. VI.D)
Prior Medical History [PFS Sec. Vi (F) (1 & 4)}

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. III.C.9)

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The Buzbee Law Firm
Green, Angiela L.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History. of Other Trailer Resident(s) (PFS Sec. Vi. D)

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec, IIL. C. )
‘Only if You are Making a Wage Claim “(PES Sec. IV.F.3)

Number of Hours Spent in the Trailer Each Day (PFS Sec. V.13)

Certification Signed by Plaintiff

Green, Ashia

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s) (PFSSec. VLD)
Certification Signed by Plaintiff

Green, Diane

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Manufacturer (PFS Sec. V.At)
FEMA LD, # (PFS Sec. V.A.3)
Bar Code (PFS Sec. eA) .
Smoking H History of Other Trailer Residentle) (PES Sec. Vi. D)

Future Medical Claim {PFS Sec. tll. C. 2)

Psychological Treatment (PFS Sec. HILC.8) .

Prior Medical History [PFS Sec. Vi (F} (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. Ili.C.9)
Only if You are Making a Wage Claim (PFS Sec, 1V.F.3)

Number of Hours Spent in the Trailer Each Day {PFS Sec. V. 43)

Certification Signed by Plaintiff

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The Buzbee Law Firm. oer
Harris, Fred

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMALD. # {PFS Sec. Vv. A. 3}

‘Smoking History of Other Trailer Residents) (PFS Sec. VI.D) _ a
Prior Medical History [PFS Sec. VI (F) a & 4)] BO

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. lil.C.9)

Certification Signed by Plaintiff

Harris, LeRoy J.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:
Smoking History of Other Trailer Resident(s) (PFS Sec. VI.D}

Harris, Mariah

The following items are missing fram the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA |.D. # (PFS Sec. V.A.3}

Smoking History of Other Trailer Resident(s} (PFS Sec. VI.D)

Prior Medical History [PFS Sec. VI (F) (1 & 4)]

‘Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. 1.C.9)
Only if You i gec Claim (PFS Sec. IV. F. 3)

Certification Signed by Plaintiff

Heechung, Eisabella

The foliowing items are missing frorn the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA |.D. # (PFS Sec. V.A.3}
Bar Code (PFSSec. V.A.4)
Smoking History of Other Trailer Resident(s) (PFS Sec. Vi.D)}

Prior Medical History [PFS Sec. VI(F} {1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses {PFS Sec. IH.C. 3)

Certification Signed by Plaintiff

Heechung, Hazel

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s} (PFS Sec. V!.D)
Prior Medical History {PFS Sec. MEF } (1 & Ay a
Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. IL C 9)

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The Buzbee Law Firm
Jacobs, Troy

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Manufacturer (PFS Sec. V.A.1)
FEMA. D.# (PFS Sec, VA. 3)
Bar Code (PFS Sec. V.A. A)
Smoking History of Other Trailer Resident(s) {PFS Sec. Vi.D)
Prior Medical History [PFS Sec, Vi (F) (1 & 4)]

Only if You are Requ f Medical Expenses (PFS Sec. ALC, 9}
Only if You are a Making a Wage Claim {PFS Sec. WE. 3)

imbur

Certification Signed by Plaintiff

Johnson, Dorothy

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

SEMA D8 (PFS sec. VA3) ite oe oe vtwguamee yy
Bar Code (PFS Sec. V.A.4)
Smoking History of Other Trailer Resident(s} (PFS Sec. VLD)

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. III.C.9)

Johnson, Joseph

The following items are missing frorn the above Plaintiff's PFS and canstitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s} (PFS Sec. VI.D)
Only if You are Requesting Reimbursement of Medical Expenses (PES. Sec. ML. C. 3)
Only if You are re Making a Wage Claim “(PFS Sec. IVF. 3)

Johnson, Michael F.
The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:
FEMAL.D. # {PFS Sec. V.A3)

Smoking History of Other Trailer Resident(s} {PFS Sec. VI. D)
Prior Medical History [PFS Sec. VI (F) (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses {PFS Sec. lil.€.9)
Number of Hours Spent i in the Trailer Each Day (PFS Sec. v. 13}

Certification Signed by Plaintiff -

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The Buzbee Law Firm

Johnson, Michelle

The follawing items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History: of Other Trailer Resident(s) {PFS Sec. VI.D)
Only if You are Requesting Reimbursement of Medical Expenses: (PFS Sec. AIL C. 9)

Certification Signed by Plaintiff

Johnson, O'Neisha D.

The following fterns are missing from the above Piaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

‘Manufacturer (PFS Sec, V.A.1) .

Smoking History of Other Trailer Resident(s) (PFS Sec. VID)
‘Prior Medical History [PFS Sec. Vi (F) (1 & 4)]
‘Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. Mh, C. 3)

Certification Signed by Plaintiff

Johnson, Sean

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Prior Medical History [PFS Sec. Vi {F} (2 & 4}]

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. tt, C.9)

Jones, Gilda

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA |.D. # (PFS Sec. V.A.3)

‘Bar Cade (PFS Sec. V.A.4)

‘Names of All Trailer Residents (PFS Sec. V.E)

Smoking History of Other Trailer Resident(s} (PFS Sec. Vi.D)
Future Medical Claim (PFS Sec. Ill. C. 2)

Psychological Treatment (PFSSec.ULC8)
Prior Medical History [PFS Sec. VI {F )(1&4)} a —

Only if You are Requesting Reimbursement of Medica! Expenses (PFS Sec. III.C.9)
‘Only if You are Making a Wage Claim (PFS Sec. IV.F.3)
Number of Hours Spent i in the Trailer Each Day (PFS Sec. V. 13)

Certification Signed by Plaintiff

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The BuzbeeLaw Firms
Kinkella, Jan M.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident({s} (PFS Sec. VI.D}

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. INl.C.9}

Kissanis, John

The following tems are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Smoking History of Other Trailer Resident(s} (PFS Sec. Vi.D)
Only if You are Making a Wage Claim (PFS Sec. IV.F.3)

Lacey, Belinda

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Mavufsceurer irs sec Vad) cvs teem ta nti ate whe
Smoking History of Other Trailer Resident(s} (PFS Sec. Vi.D)
Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. Hl.C.9}

Certification Signed by Plaintiff

Lampkin, Denise

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. HIC.9)

Lampkin, Gerald

The following items are missing from the above Plaintift’s PFS and constitute a Plaintiff Fact Sheet deficiency:

Manufacturer (PES Sec. VAL) —

FEMA LD. # (PFS Sec, V.A.3)

Bar Code {PFS Sec. V.A.4)

Smoking History of Other Trailer Resident(s) (PFSSec. VLD)
Prior Medical History [PFS Sec, Vi (F} (i & 4))

Only if You are Requesting Reimbursement of Medical Expenses {PFS Sec. II.C.9}

Certification Signed by Plaintiff

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The Buzbee Law Firm
Villa, Pamela E.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA |.D. # {PFS Sec, V.A.3}

Bar Code {PFS Sec. V.A.4)

Smoking History of Other Trailer Resident(s) (PFS Sec. Vi D)

Prior Medical History [PFS Sec. VI (F) (1 & 4}]

‘Only if You are Requesting Reimbursement of Medical Expenses {PFS Sec. I11.C.9)

Only If You are Making a Wage Claim {PFS Sec. VFB)
Certification Signed by Plaintiff Be

Vitto, Joshua J.

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA LD. # (PES Sec. V.A. 3)

Bar Code. (PFS Sec. V.A. 4)

Smoking History of Other Trailer Resident(s} (PFS Sec. VID)

Prior Medical History [PFS Sec. Vi (F) (1 & 4)]

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. IlI.C.9)

Certification Signed by Plaintiff

Vitto, Jr, SpencerE,

The following items are missing from the apove Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA LD. # (PFS Sec. V.A.3)

Bar Code (PFS Sec. V.A.4)

Smoking History of Other Trailer Resident(s) (PFS Sec. Vi.D}

Prior Medical History [PFS Sec. V1 {F} {1 & 4)}]

Only if You are Requesting Reimbursement of Medical Expenses (PFS Sec. [f.c. 9)

Certification Signed by Plaintiff

Vitto, Sr., SpencerE. |

The following items are missing from the above Plaintiff's PFS and constitute a Plaintiff Fact Sheet deficiency:

FEMA 1D. #t {PFS Sec. A.3)
Bar Code (PFS Sec. V.A. A) -
Smoking History of Other Trailer Residents} (PFS Sec. Vl. D)

Prior Medical History: IPFS Sec. Vi (F) (1 &4)}}

sement 0 of Medical & penses (PFS Sec. UL c 9)

Only if You | are Regi sting Rei iDUT

Certification Signed by Plaintiff

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Gieger, Laborde & Laperouse, L.L.C.

Mr. Anthony Buzbee
Fune 29, 2011

If you should have any questions regarding this deficiency letter, please contact the
undersigned at your earliest convenience at (504)654-1347.

JMD/maa/kbd

cc: Andrew Weinstock, Esq.
Justin Woods, Esq.
Dave Kurtz, Esq.

Henry T. Miller

TB
